     Case: 3:21-cv-50363 Document #: 1 Filed: 09/14/21 Page 1 of 10 PageID #:1
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                           PETITION FOR WRIT OF HABEAS CORPUS
                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS


                                  PERSONS IN FEDERAL CUSTODY


                                                                                      RECEIVET)
                                                          )


                                                         )
                                                          )
                                                                                             sEF 14?0?1          ct^
(Full name           which convicted)                    )                               TI{OMASG.BRUTON
PETITIONER                                               )                         CLERK, U.S. DISTRICT COURT


   /o??E-a<
(Prisoner number)
                                                         I        1:21-cv{4868
                                                                  Presiding Judge Gary Feinerman
                                                                  Magisfate Judge Jeffrey Cole
                                                                  PC 10
                V.                                                RANDOM

  Daden Ciolli DsP TYromson
(Name of Warden, Superintendent,
Jailor, or authorized person having
custody of petitioner)
                      Respondent.


            lf petitioner is serving a sentence under a federaljudgment which
           he wishes to attack, he should file a motion under 28 U.S.C' S 2255,
                       in the federal court which entered the judgment.




                                                                                                                 Revised: 06/04/1 5




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                                                        PETITION

1.   Name and location of                       whi       entpred the j              ent o[convictioq under attack:


2.   Date of judgment of              conviction: /lhf /0, && I
3.   Length of sentenc             e:                 Lt'/e
4.   Nature of offense involved (all counts with indictment number of each, if known):




5.   What was your plea? (Check one)
                  (A)
                 Not Guilty
                  (B)
                Guilty
                                                                       6   )
                  (C)
                 Nolo Contendere                                           )

     lf you entered a guilty plea to one count or indictment, and a not guilty plea to
     another count or indictment, give details:




b.   Kind of trial: (Check one)

                 (A)
                 (B)
                           Jury
                           Judge only
                                                                     (4
                                                                     ()
7.   Did you testify at trial?

                 Yes (r{                                  No (             )

B.   Did you appeal from the judgment of conviction or imposition of sentence?

                 Yes (6                   No ( )
                 (A) lf you did appeal, answer the following:
                           (1)        Name of court:



                                                                                                                 Revised: 06/04/1 5




      [f    you need additional space for ANY section, please attach an additional sheet and reference that section.]
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                             (2)        Result: 'Deil pd
                              (3)       Date of result:                 unkytocrtn &M4
                              (4)       lssues raised:



9.     Other than a direct appeal from the judgment of conviction and sentence, have you
       previously filed any petitions, applications or motions pursuant to 28 U.S.C. S 2255
       with respect to this judgment in any federal court?

                   Yes        (   vf                        No ()
10.    lf your answer to question (9) was YES, give the following information:

       (A) (1 )               Name of       court:        ( 'i
                                                             I          {"efie
                                                                                       (q,of                t'\1   -   lAq)4
                                                                   'q
                   (2) Nature of proceed ins, [Af il pl ftr/omil

                   (3)        Grounds       raised: 7)ui,rd)rl$r, SArb ef



                    (4)       Did you receive an evidentiary hearing on your petition, application or
                              motion?

                                        Yes       (                     No       (6
                    (5)       Result:

                    (6)       Date of     result: Trn.xlly ,ll'r'S , 0," -                         '\
                                                                                                      4?     tl
                                                         lt
       (B)          As to any second petition, application, or motion, give the same information.

                    (1)       Name or       court: tlle.*lett f'"Liol                          ol     Lootrllnq
                    (2)       Nature of      proceeding: AA55




                                                                                                                       Revised: 06/04/1 5




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            (3)       Grounds        raisedr -S",risdlLi/on, 'C',,t                              '

            (4)       Did you receive an evidentiary hearing on your petition, application or
                      motion?

                                Yes(             )             No

            (5)       Result:              denied
            (6)       Date of result:                 unkttaun A& 5
(c)         As to any third petition, application, or motion, give the same information.

            (1)       Name of       court: irq/rq*rl" I,i.'l",ol oP / n 'isrOnq
            (2)       Nature of proceeding:



            (3)




            (4)       Did you receive an evidentiary hearing on your petition, application or
                      motion?

                                Yes        (                   No         (4
            (5)       Result:                  de-nied
            (6)       Date of     result: .ftre, ^n 19
(D)         Did you appeal the result to the federal ap pellate court having jurisdiction?

            (1)       First petition, etc.                     Yes ( 1No (                           )
            (2)       Second petition, etc.                    Yes ( r'y No (                        )
            (3)       Third petition, etc.                     Yes ( ,,f1 No (                       )

(E)         lf you did not appeal from the adverse action on any petition, application, or
            motion, explain briefly why you did not:




                                                         4                                                 Revised: 06/04/'15


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11.    lf you did not file a motion under Section 2255 of Title 28 United States Code, or if
       you filed such motion and it was denied, state why your remedy by way of such
       motion is inadequate or ineffective to test the legality of your detention:


         i-e,'< OP1 /ariqtrtql             f^<<      tDo. Af^5\ ftr*1          fel;l'ine. h("           ,L ('r'rnflPled




12.    State conciselv every ground on which you claim that you are being held unlawfully.
       Summarize brieflv the facts supporting each ground. lf necessary, you may attach
       pages stating additional grounds and facts supporting same. You should raise in
       this petition all available grounds for relief which relate to the conviction under
       attack. Failure to do so may bar you from presenting additional grounds at a later
       date.

       (A)        Ground one:
                  Supporting FACTS (tell your'story brieflv without citing




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                                                                                                                  Revised: OG|O4l15



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(B)        Ground two:
           Supporting FACTS (tell your story brieflv without citing cases or law):




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             exrrvlfnln"y p.,irlp",er" e q#n,re.( ,ln l"' Lif+lnhpl', i+ ,qh6q)s
            Pelr}lbner  lr-, he aok-rall,/ i'"nocpnh




(C)        Ground three:
           Supporting FACTS (tell your story brieflv without citing cases or law):




                                                        6                                                 nevised: 06/04/15


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        11f   you need additional space for ANY section, please attach an additional sheet and reference that section.l




       (D)         Ground four:
                   Supporting FACTS (tell your story brieflv without citing cases or law):




13.    Has any ground set forth in question (12) been previously presented to this or any
       other federal court by way of petition for habeas corpus, motion under Section 2255
       of Title 28, United States Code, or any petition, motion or application,

                              Yes       (   Vf                         No()
14.    lf you answered "YES" to question (13), state brieflv what grounds were previously
       presented, and name the proceedings in which each ground was raised:




                                                                 7                                                 aevised: 06/04/15


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       [f   you need additional space for ANY section, please attach an additional sheet and reference thaf section.]'




15.    Do you have any petition or appeal now pending in any federal court, as to the
      judgment under attack?

                           Yes(             )                       No (V)
      (A)        lf yes, state the name of the court and the nature of the proceeding.




16.   Give the name and address, if known, of each attorney who represented you in the
      following stages of the judgment attacked herein:

      (A)        At preliminary hearinO:
                                         -TmU,[hy
                                                                             A,    mr,.he-

      (B)        At arraignment and plea:


      (c)        At trial:


      (D)        At sentencing:                                NIA


      (E) on appear:                                    D,r{n}ei S}qn fs'rJ

      (F)        ln any post-conviction proceedings:


      (G)        On appeal from any adverse ruling in a post-conviction proceeding:




17. Were you senten."O on                                                                           or on more than one
      indictment, in the same court and at the same time?

                           Yes        (                              No




                                                                                                                 Revised: OAlO4l15


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18.    Do you have anyfuture sentence to serve afteryou complete the sentence imposed
       by judgment under attack?

                              Yes(             )                        No        (1
                    (A)       lf YES, give the name and location of the court which imposed
                              sentence to be served in the future:



                    (B)       And give the date and length of sentence to be served in the future




       WHEREFORE, petitioner prays that the court grant petitioner relief to which he may
be entitled in this proceeding.



Signature of Attorney (if any)

                                                                        I   DECLARE UNDER PENALTY OF
                                                                        PERJURY THAT THE FOREGOING !S
                                                                        TRUE AND CORRECT.

                                                                        Executed on



                                                                        (Signature of Petitioner)


                                                                                                        Petitioner




                                                                   9                                                  nevised: 06/04/15


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